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                            EXHIBIT 4
Case 1:24-cv-01355-JDW                                              Document 12-4                              Filed 03/03/25                                                     Page 2 of 4 PageID #: 910
        Bardy Diagnostics®                                              Table of Contents                                                                        1           Instructions For Use                                                      2

  CAM®                                                                  IN THE BOX
                                                                                                                                                      Bardy Diagnostics
                                                                                                                                                                             PREPARE THE SKIN
                                                                                                                                                                                 CAUTION: Proper skin prep required to achieve

  Instructions
                                                                                                                                                                    CAM™
                                                                                                                                                          Quick Reference
                                                                                                                                                              Instructions       full length of prescribed monitoring duration.
                                                                                                                                    Carnation
                                                                                                                                    Ambulatory Monitor™




  For Use
                                                                        Battrode®                   Recorder
                                                                        (packaged inside CAM box)   (packaged inside   Patient Diary and Quick
                                                                                                    CAM box)           Reference Instructions
                                                                                                                       (inside CAM box)

                                                                        Indications for Use
                                                                        The Carnation Ambulatory Monitor (CAM) is designed to
                                                                        provide extended duration cardiac monitoring for people
                                                                        who are suspected of having cardiac arrhythmias.

                                                                        Patient Population                                                                                   Step 1
                                                                        The intended patient population includes both males and                                              Remove all hair over sternal area by shaving close to the
                                                                        females not weighing less than 10 kg (22 lbs) who may                                                skin. Do not merely clip hair. The prepared area should
                                                                        have cardiac arrhythmias.                                                                            extend 2 inches past where the CAM will be placed.

                                                                        TABLE OF CONTENTS                                                Page                                Step 2
                                                                        Instructions for Use                                                                                 Use all prep pads provided in the box to
                                                                                                                                                                             clean area shown. SCRUB the skin with               prep pads
                                                                          Prepare the Skin                                                           2
                                                                          Prepare the CAM                                                            3                       the prep pads until they appear clean
                                                                          Apply the CAM                                                              4                       after use. Skin should be scrubbed well
                                                                                                                                                     4                       enough to be slightly reddened. Allow the
                                                                          Record Symptoms
                                                                                                                                                                             skin to dry for 2 minutes prior to applying.
                                                                          Link the CAM to Patient Information                                        5
  The Carnation Ambulatory Monitor                                        Operational Instructions                                                   6
  is a continuously recording P-wave centric® ambulatory ECG            General Cautions                                                             6                       PREPARE THE CAM
  patch monitor that records for up to the prescribed wear time.        Processing Cautions                                                          9                       Step 3
                                                                        EMC Guidelines                                                              10
                                                                                                                                                                             On a flat, hard surface insert the narrow end of the
        Carnation                                                       Symbols
                                                                        Technical Specifications
                                                                                                                                                    11
                                                                                                                                                    13
                                                                                                                                                                             Recorder into the Battrode first with the event button
                                                                                                                                                                             facing up, and then push the Recorder down firmly.
        Ambulatory Monitor®


   Instructions For Use                                             3   Instructions For Use                                                                    4            Instructions For Use                                                      5
  A green LED                                                           APPLY THE CAM                                                                                        REVIEW
  light will blink                                                      Step 6                                                                                               Step 8
  for 10 seconds to
                                                                        Locate the bone at the bottom of the sternum. This is                                                Give the patient the Patient Diary and CAM
  confirm activation.
                                                                        the xiphoid process.                                                                                 box and explain their use. Review all
  After the LED
                                                                                                                                                                             instructions and Cautions and advise patient
  activation is confirmed,
                                                                                                                                                                             to avoid showering, bathing, or exercising
  press down on the event
                                                                                                                                                                             for 24 hours following application, and
  button once to ensure the                       LED
                                                                                                                                                                             thereafter avoid activities or environments
  recorder is clicked firmly in place.
                                                                                                                                                                             that result in excessive perspiration, as this
  NOTE: The LED light may take a few seconds to initiate.                                                                                                                    may result in a decreased period of monitoring.
  The LED blinking will only occur when the Recorder is first
  connected to the Battrode. No additional blinking should occur                    xiphoid
  while the CAM is being worn. Contact Customer Service if the                      process
                                                                                                                    Bottom of CAM                                            LINK THE CAM TO PATIENT INFORMATION
  LED does not blink as described.                                                                                over xiphoid process
                                                                                                                                                                                 CAUTION: Inability to diagnose if patient and physician
                                                                        Apply the CAM to the patient’s sternum with the bottom                                                   data is missing. The Patient Diary card must be kept
  Step 4                                                                electrode of the patch sitting over the xiphoid process.                                                 with the CAM to ensure proper diagnosis.
  Record the date and time of CAM activation, which is a                Press along the entire edge of the patch for 2 minutes                                               Step 9                                            PATIENT HEALTH RECORD




  required field to complete patient registration.                      and rub firmly around the edges of the patch for 1 minute                                            Barcode stickers with the
                                                                                                                                                                                                                 XXXXX-XXXXX



                                                                                                                                                                                                                Lorem
                                                                        to ensure adhesion. Place two fingers below the event                                                CAM identification number           XXXXX-XXXXX



                                                                                                                                                                                                                Lorem
  Step 5                                                                button and press down firmly to adhere the top of the                                                are found inside the CAM            XXXXX-XXXXX



                                                                                                                                                                                                                Lorem
                                                                        CAM to the patient’s chest.                                                                          box and must be placed
  Gently peel the liner from                                                                                                                                                                                     XXXXX-XXXXX



                                                                                                                                                                                                                Lorem
  the CAM by grasping the                                                                                                                                                    on the patient’s chart or
                                                                        RECORD SYMPTOMS
                                                                                                                                                                                                                 XXXXX-XXXXX



                                                                                                                                                                                                                Lorem
  tab at the top of the device                                                                                                                                               typed into the patient’s EMR.
  and peeling downward,                                                 Step 7
                                                                        Instruct patients to gently                                                                          IMPORTANT: Fill in all information on
  carefully avoiding contact
                                                                        press the button only once                                                                           the front page of the Patient Diary,
  with the adhesive.
                                                                                                                                                                             including the patient name, date/time when the CAM is activated,
                                                                        each time they feel symptoms,
                                                                                                                                                                             physician name and hospital/clinic.
      CAUTION: Touching the adhesive can                                and record the date/time in
      reduce adhesive performance. Hold onto                            the Patient Diary (included).                                                                        Step 10                                CONNECT
      tabs at the end of the CAM.                                       Do not press button repeatedly                                                                       Register the patient as early as
                                                                        or forcefully.                                                                                       possible on the BDxCONNECT patient management portal.


   Cautions                                                         6   Cautions                                                                                7            Cautions                                                                  8

  OPERATIONAL INSTRUCTIONS                                                   CAUTION: Post-application activity                                                                  CAUTION: Choking Hazard
  If the CAM becomes soiled, patient may gently wipe exterior                Instruct patients to avoid showering, bathing, or exercising                                        This is a prescribed medical device. Keep device and
                                                                             for 24 hours following application, and thereafter avoid                                            packaging away from young children.
  of device, using a clean, dry cloth.
                                                                             activities or environments that result in excessive
  If Battrode becomes loose or detached from skin, patient                   perspiration, as this may result in a decreased period of                                           CAUTION: Equipment damage
  should press the adhesive portions of monitor back in place.               monitoring.                                                                                         Use only as directed. Tampering with the CAM may render
                                                                                                                                                                                 it unusable. There are no user serviceable parts.
  If you do not see the confirmation blinking LED upon initial               CAUTION: CAM adhesive swelling
  connection of the Battrode and Recorder, contact Bardy                     It is normal for the CAM adhesive material to swell in humid                                        CAUTION: May interfere with defibrillation therapy
  Diagnostics Customer Service.                                              environments or when exposed to moisture. Instruct                                                  To avoid ineffective defibrillation therapy, remove the CAM
                                                                             patients to allow adhesive to dry following activities such as                                      before applying any external cardiac defibrillators.
  Remind the patient to return the monitor following the
                                                                             showering or exercise. If desired, patient can gently pat with
  prescribed period of wear.                                                                                                                                                     CAUTION: May interfere with MRI scanning
                                                                             a dry towel, but should not attempt to reposition the CAM.
                                                                                                                                                                                 The CAM is not intended for use with MRI equipment and
  SAFETY ALERT DESCRIPTIONS                                                  CAUTION: Submersion                                                                                 could reduce effectiveness of diagnostic scanning.
                                                                             Submersion (such as during swimming or bathing) is not                                              Remove before any MRI scan.
  The symbol shown below identifies a potential hazard category.
                                                                             advised. Instruct patients to keep showers brief and the
      CAUTION                                                                                                                                                                    CAUTION: Ineffective electronic imaging
                                                                             CAM out of the direct stream of water.
      This alert identifies hazards that may cause minor personal                                                                                                                The CAM is not intended for use with imaging equipment
      injury, product damage, or property damage.                            CAUTION: Poor skin contact                                                                          and could reduce effectiveness of diagnostic imaging.
                                                                             Poor contact of the CAM with the skin can negatively affect                                         Remove before using electronic imaging systems.
  GENERAL CAUTIONS                                                           monitoring performance. Instruct patients to secure the
                                                                                                                                                                                 CAUTION: Equipment damage
                                                                             CAM back in place if it becomes loose or detached.
  This section lists general cautions. Those pertaining to                                                                                                                       Use only with approved Bardy Diagnostics BDxStation.
  specific functions and procedures are included in the text                 CAUTION: Skin irritation                                                                            CAUTION: Enclosure damage
  where appropriate.                                                         Patients with sensitive skin or with known skin conditions
                                                                                                                                                                                 Do not use any parts that appear damaged. Check the
                                                                             should use the CAM with caution. If irritation such as
      CAUTION: Contains ECG Electrodes, which can                            redness, severe itching or allergic symptoms (i.e. hives)
                                                                                                                                                                                 CAM for damage before using and reject any parts that
      damage skin if used improperly. The CAM should be                                                                                                                          have been damaged in shipping.
                                                                             develop, instruct patients to remove the CAM immediately
      used by or in consultation with a health care provider                 and have them contact their physician.                                                              CAUTION: Electrical shock
      familiar with its proper placement and use. Apply
                                                                                                                                                                                 The CAM contains electrodes for monitoring ECG. Do
      electrodes to intact, clean skin only. Do not apply over an            CAUTION: Allergic skin reaction
                                                                             Do not use the CAM on patients with known skin allergies
                                                                                                                                                                                 not allow conductive parts of the electrodes on the CAM
      open wound, lesion, infected or inflamed skin.
                                                                             or family history of skin allergies.                                                                to come in contact with other conductive parts
      CAUTION: Damage to skin                                                                                                                                                    (including earth).
      Instruct patients to remove electrodes carefully to avoid
      damaging their skin.
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   Cautions                                                              9   EMC Guidelines                                                10   Symbols                                                         11

  PROCESSING CAUTIONS                                                        EMC GUIDELINES                                                     SYMBOLS
  When the CAM is returned to the processing center, these                   The CAM requires special cautions regarding EMC and                Bardy Diagnostics products display one or more of these
  additional cautions apply.                                                 needs to be put into service according to provided                 symbols and warning labels.
           CAUTION: Contaminated surfaces                                    information.
           When the CAM is returned to the reading center, it will                                                                              SYMBOL           DESCRIPTION
           have been in contact with human skin. Follow the                      CAUTION: Electromagnetic interference (EMI)
                                                                                 Portable and mobile wireless communications                                     Attention: Consult accompanying documents
           facility’s procedures for appropriate handling.
                                                                                 equipment such as wireless home network devices,                                Warning and caution symbol
           CAUTION: Battery may present environmental                            mobile phones, cordless telephones and their base
           hazard                                                                stations, and walkie-talkies can affect the CAM and                             TYPE BF APPLIED PART: F-TYPE APPLIED
           The CAM contains a battery. Properly dispose of                       should be kept at least a distance of 30 centimeters                            PART complying with the specified
           batteries in accordance with local regulations.                                                                                                       requirements of 60601-1 to provide a higher
                                                                                 away from the equipment. Position the CAM away
                                                                                                                                                                 degree of protection against electronic shock
           CAUTION: Electronic waste may present                                 from other electrical or electronic equipment, if
                                                                                                                                                                 than that provided by TYPE B APPLIED
           environmental hazard                                                  possible. The presence of strong EMI fields, or
                                                                                                                                                                 PARTS.
           The CAM is considered medical electrical equipment.                   electronic, surgical, or diathermy instruments in
           Properly dispose of electronic waste in accordance with               close proximity to the ECG device may cause trace                               Note: TYPE BF APPLIED PARTS are not
           local regulations.                                                    noise or input overload conditions.                                             suitable for DIRECT CARDIAC APPLICATION.

           CAUTION: Single use only                                          The ECG device is compliant with IEC 60601-1-2 EMC
                                                                                                                                                                 Protected against intrusion from fingers and
           The Bardy Diagnostics CAM is not intended for reuse, as                                                                                               small objects, and from water falling as a spray
           the monitor becomes non-functional after the first use.
                                                                             immunity requirements.                                               IP23           at an angle of up to 60 from vertical. Do not
                                                                                                                                                                 immerse in bathtub or swimming.

                                                                                                                                                                 Sold by prescription only
                                                                                                                                                                 CAUTION: Federal law (USA) restricts this
                                                                                                                                                                 device to sale by or on the order of a licensed
                                                                                                                                                                 healthcare practitioner.

                                                                                                                                                                 Single use only

                                                                                                                                                                 Manufacturer

                                                                                                                                                                 Use-by date




   Symbols                                                            12     Technical Specifications                                      13   Technical Specifications                                        14

  SYMBOL                DESCRIPTION
                                                                             TECHNICAL SPECIFICATIONS                                           ITEM                        SPECIFICATION
              131°F                                                                                                                             Physical Characteristics
              (55°C)    Do not expose to temperatures outside of             ITEM                     SPECIFICATION
   32°F
   (0°C)                these limits. For more information on                                                                                   Approximate dimensions 178mm x 38mm x 14mm
                        environmental parameters refer to the                Performance Characteristics
                        Technical Specifications section.                                                                                       Weight                      <25g
                                                                             ECG channels             1 channel
                        Atmospheric pressure must be within these                                                                               Enclosure material          Medical grade thermoplastic polymer
              1060hPa                                                        Recording capacity       Up to 2, 7, or 14 days
                        limits. For more information on environmental
  500hPa                parameters refer to the Technical                                                                                       Flammability rating         UL-HB
                                                                             Recording format         Continuous
                        Specifications section.
                                                                             Service life             Up to 2, 7, or 14 days                    %NCUUKƂECVKQP
               95%      Humidity must be within these limits. For more
                        information on environmental parameters refer        Shelf life               24 months                                 Type of protection          Internally powered
   10%
                        to the Technical Specifications section.
                                                                                                                                                Degree of protection        Type BF applied part
                                                                             Electrical Characteristics
                        Date of manufacture
                                                                                                      0.67 Hz to 25 Hz                          Protection against          IP23 (Protected against intrusion
                                                                             Frequency response
                        Contains electronic equipment. Dispose of                                                                               objects and water           from fingers and small objects, and
                        properly in accordance with local regulations.       Differential range       4 mV                                      ingress                     from water falling as a spray at an
                                                                                                                                                                            angle of up to 60° from vertical)
         SN             Serial number                                        A/D sampling rate        171 Hz
                                                                                                                                                Electrode Characteristics
                        Orderable part number
                                                                             Power Requirements
                                                                                                                                                Number of electrodes        2
                        Batch code
                                                                             Battery type             Lithium primary (coin cell)
                                                                                                                                                Type                        Electrode incorporating electrode
                        MR Unsafe
                                                                             Lithium content          Lithium content < 1 g                                                 gel and internal lead wire

                                                                             Heavy metal content      Within weight limits of 2006/66/EC        Supplied as                 Disposable, non-sterile

                                                                             UN compliance            Complies with UN 3090                     Lead wire length            11.6 cm (no patient contact)

                                                                                                                                                Materials                   Electrode gel: Medical grade
                                                                                                                                                                            conductive synthetic
                                                                                                                                                                            Adhesive: Medical grade skin
                                                                                                                                                                            adhesive


   Technical Specifications                                           15                                                                               Carnation
                                                                                                                                                       Ambulatory Monitor®


  'PXKTQPOGPVCN5RGEKƂECVKQPU '%)&GXKEG                                                                                                       For assistance in setting up, using, and maintaining the device,
                                                                                                                                                o
                                                                                                                                                or to report unexpected operations or events:
  Operating temperature                 50° F to 113° F
                                        (10° C to 45° C)
                                                                                                   We’re close to your heart®
  Operating pressure                    700 to 1060 hPa                                                                                         Bardy
                                                                                                                                                 a     Diagnostics, Inc.®
                                                                                                                                                220 120th Avenue NE, Ste 100
  Operating humidity                    10% to 95%                                                                                              Bellevue, WA 98005
                                        (non-condensing)                                                                                        USA

  Transport temperature                 14° F to 130° F                                                                                         US Customer Service:
                                        (-10° C to 55° C)                                                                                       (844) 777-9283

  Storage temperature                   59° F to 77° F                                                                                                      By prescription only
                                        (15° C to 25° C)
                                                                                                                                                            Read all instructions
  Transport / Storage                   10% to 95%                                                                                                          before using this product
  humidity                              (non-condensing)
                                                                                                                                                This device is provided non-sterile.
  Transport / Storage pressure          500 to 1060 hPA
                                                     P
                                                                                                                                                www.bardydx.com                                  DWG000781C 08/24
  Standards compliance                   Applicable sections of
                                                             of IEC
                                                                  C
                                        60601-1, 60601-1-2,
                                        60601-1-11, 60601-2-47
                                                       6 1 47




                                                                                    Instructions For Use
                                                                                                   For additional instructions and
                                                                                                     Frequently Asked Questions
                                                                                                        visit www.bardydx.com
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  Electromagnetic Emissions Declarations
      Guidance and manufacturer’s declaration – electromagnetic emissions

      The CAM is intended for use in the electromagnetic environment specified below. The customer or the user of the CAM should assure that it
      is used in such an environment.

      Emissions test                Compliance                                     Electromagnetic environment - guidance
                                                                   The CAM uses RF energy only for its internal function. Therefore, its RF
      RF emissions                                                 emissions are very low and are not likely to cause any interference in nearby
                                    Group 1
      CISPR 11                                                     electronic equipment.

      RF emissions
                                    Group B
      CISPR 11

      Harmonic emissions                                           The CAM has No AC Mains, and is suitable for use in all establishments,
                                    Not Applicable                 including domestic, and those directly connected to the public low-voltage
      IEC 61000-3-2
                                                                   power supply network that supplies buildings used for domestic purposes.
      Voltage fluctuations/
      flicker emissions             Not Applicable
      IEC 61000-3-3

      Guidance and manufacturer’s declaration – electromagnetic immunity

      The CAM is intended for use in the electromagnetic environment specified below. The customer or the user of the CAM should assure that it
      is used in such an environment.

      IMMUNITY test                 IEC 60601 test level       Compliance level         Electromagnetic environment - guidance
      Electrostatic                 ± 8 kV contact             ± 8 kV contact           Floors should be wood, concrete or ceramic tile. If floors
      discharge (ESD)                                                                   are covered with synthetic material, the relative humidity
                                    ± 15 kV air                ± 15 kV air
      IEC 61000-4-2                                                                     should be at least 30%.

      Power frequency               30 A/m                     30 A/m                   Power frequency magnetic fields should be that of a
      (50/60 Hz) magnetic field                                                         typical commercial or hospital environment.
      IEC 61000-4-8


      Radiated                                                                          Portable and mobile RF communications equipment
                                    10 V/m                     10 V/m
      RF IEC 61000-4-3                                                                  should be used no closer than 30 cm to any part of
                                    80 MHz to 2,7 GHz          80 MHz to 2,7 GHz
                                                                                        the CAM.
      Radiated RF Proximity                                    9 V/m - 28 V/m per
                                    9 V/m - 28 V/m per                                  Interference may occur in the vicinity of
      Fields IEC 61000-4-3                                     IEC 60601-1-2 Ed.4,
                                    IEC 60601-1-2 Ed.4,                                 equipment marked with the following symbol:
      (per IEC 60601-1-2 Ed.4)                                 Table 9
                                    Table 9
